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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

JOHN DOE                                                                               PLAINTIFF

VS.                                                CIVIL ACTION NO: 3:24-cv-547-HTW-LGI

JANE ROE                                                                             DEFENDANT


PLAINTIFF’S MOTION FOR LEAVE TO FILE COMPLAINT UNDER PSEUDONYM,
 TO PROCEED PSEUDONYMOUSLY, AND TO FILE MATERIALS UNDER SEAL


       Plaintiff moves pursuant to Fed. R. Civ. P. 5.2, L.U. Civ. R. 5.2, and L.U. Civ. R. 79 for

leave to file his Complaint under a pseudonym, to proceed in this action pseudonymously, and to

file under seal (or with redactions) any materials that would reveal the parties’ identities. In

support, Plaintiffs relies on the allegations of his Complaint [Doc. 1] and the Memorandum

accompanying this Motion.

       ACCORDINGLY, Plaintiff respectfully requests leave to file his Complaint under

pseudonym, to proceed in this action pseudonymously, and to file under seal (or with redactions)

any materials that would reveal the parties’ identities.

       Dated: September 13, 2024.

                                               Respectfully submitted,

                                               JOHN DOE

                                               By: /s/ M. Patrick McDowell
                                                   M. Patrick McDowell,
                                                   One of His Attorneys
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